Case 3:04-cr-00184-KHJ-ASH   Document 47   Filed 05/05/06   Page 1 of 6
Case 3:04-cr-00184-KHJ-ASH   Document 47   Filed 05/05/06   Page 2 of 6
Case 3:04-cr-00184-KHJ-ASH   Document 47   Filed 05/05/06   Page 3 of 6
Case 3:04-cr-00184-KHJ-ASH   Document 47   Filed 05/05/06   Page 4 of 6
Case 3:04-cr-00184-KHJ-ASH   Document 47   Filed 05/05/06   Page 5 of 6
Case 3:04-cr-00184-KHJ-ASH   Document 47   Filed 05/05/06   Page 6 of 6
